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 8                            UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
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11   TRUSTEES OF THE OPERATING               Case No: 2:20-cv-09526-DDP-MAAx
     ENGINEERS PENSION TRUST,
12   TRUSTEES OF THE OPERATING
     ENGINEERS HEALTH AND                        JUDGMENT
13   WELFARE FUND, TRUSTEES OF
14   THE OPERATING ENGINEERS                     Assigned to the Honorable Dean D.
     VACATION-HOLIDAY SAVINGS                    Pregerson
15   TRUST, TRUSTEES OF THE
     OPERATING ENGINEERS
16   TRAINING TRUST, TRUSTEES OF                 [Fed. R. CIV. PROC. 55(b)(2)]
     THE OPERATING ENGINEERS
17   LOCAL 12 DEFINED
     CONTRIBUTION TRUST, FUND FOR
18   CONSTRUCTION INDUSTRY
     ADVANCEMENT, ENGINEERS
19   CONTRACT COMPLIANCE
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     COMMITTEE FUND, CONTRACT
     ADMINISTRATION FUND,
21   SOUTHERN CALIFORNIA
     PARTNERSHIP FOR JOBS FUND, and
22   OPERATING ENGINEERS
     WORKERS COMPENSATION
23   TRUST,
24                  Plaintiffs,
25             v.
26   MOORE SWEEPING, a California
27   corporation,

28                  Defendant.
                                             1
                                      JUDGMENT
     1505073
 1             After full consideration of the pleadings and papers on file in this case, the
 2   evidence on record, and the argument of counsel, and GOOD CAUSE APPEARING
 3   THEREFORE:
 4             IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Plaintiffs,
 5   Trustees of the Operating Engineers Pension Trust, Trustees of the Operating
 6   Engineers Health and Welfare Fund, Trustees of the Operating Engineers Vacation-
 7   Holiday Savings Trust, Trustees of the Operating Engineers Training Trust, Trustees
 8   of the Operating Engineers Local 12 Defined Contribution Trust, Fund for
 9   Construction Industry Advancement, Engineers Contract Compliance Committee
10   Fund, Contract Administration Fund, Southern California Partnership for Jobs Fund,
11   and Operating Engineers Workers Compensation Trust, shall recover from Defendant,
12   Moore Sweeping, a California corporation, the principal amount of $2,258.18, plus
13   attorneys’ fees of $13,741.00, and costs of $515.00, plus post-judgment interest as
14   provided by law from the date of entry of the judgment herein until paid in full.
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17           May 3, 2021
     Dated: _________                         ____________________________________
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                                              UNITED STATES DISTRICT JUDGE

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                                          [PROPOSED] JUDGMENT
     1505073
